Case 3:18-CV-02020-RDI\/| Document 1 Filed 10/18/18 Page 1 of 6

IN THE UNITE]) STATES DISTRICT COURT
FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

 

sANDRA HARVEY, §
; CIVIL ACTION NO.
Plaintiff, :
: NOTICE ANI) PETITION FoR
vs. : REMOVAL oF A CIVIL ACTION
l FROM THE CoURT 0F
MARYWOOD UNIVERSITY l COMMON PLEAS OF
l LACKAWANNA COUNTY,
Defendam;. PENNsYLVANIA

 

To: Peter J. Welsh
Clerl< of Court
U.S. District Court for the Middle Distriot of Penusylvania
Williarn J. Nealon Federal Bldg. & U.S. Courthouse
235 N. Washington Avenue
Scranton, PA 18503

Michael R. Goffer, Esquire

LaW Offices of Goffer & Cimini

1603 Monsey Avenue

Scranton, PA 18509-1938

Defendant, Marywood University (“Defendant”), pursuant to 28

U.S.C. §§ 1332, 1441, and 1446, respectfully submits this Notice and Petition for
Removal of a Civil Action from the Coult of Common Pleas of Lackawanna
County, Pennsylvania, bearing Case No. 05161-CV-2018 and as grounds for
removal alleges as follows:

INTRODUCTION

l. The Court has original jurisdiction over this matter pursuant to

 

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28 U.S.C. §§ 1331 and 1367 because Plaintiff’s first cause of action arises under
the laws of the United States and Plaintiff’ s state law claims arise out of the same
circumstances as her federal claim. This case may therefore be removed pursuant
to 28 U.S.C. § 1441.
TIMELINESS OF REMOVAL

2. Plaintiff, Sandra Harvey (“Plaintiff’), filed a complaint
captioned Harvey v. Marywood Um`versl’ly, bearing Case No. 0516]-CV-2018, in
the Court of Common Pleas of Lackawanna County, Pennsylvania, on September
24, 2018. A true and correct copy of the complaint is attached hereto as Exhibit A.

3. On October 2, 3018, Defendant accepted service of the
complaint

4. This notice of removal, filed on October 18, 20l8, is filed
Within thirty days after Defendant received the complaint, Which is the initial
pleading that sets forth the claim for relief upon Which Plaintiff’s action is based.

5. As such, this notice of removal is timely filed pursuant to 28
U.S.C. § 1446(b)(l), Which provides, in relevant part, that “[t]he notice of removal
of a civil action or proceeding shall be filed Within 30 days after the receipt by the
defendant, through service or otherwise, of a copy of the initial pleading setting

forth the claim for relief upon Which such action or proceeding is based.”

 

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REMOVAL BASEI) ON FEDERAL QUESTION JURISDICTION

7. “[A]ny civil action brought in a State court of Which the district
courts of the United States have original jurisdiction, may be removed by the
defendant or the defendants, to the district court of the United States for the district
and division embracing the place Where such action is pending.” 28 U.S.C. §
1441(a).

8. This Court has original jurisdiction of this action pursuant to 28
U.S.C. § 1331, Which provides that the district courts shall have original
jurisdiction of all civil actions arising under the laws of the United States. 28
U.S.C. § 1331. In this matter, Plaintiff alleges, inter alia, that Defendant violated h
rights under Title IX of the Education Amendments of 1972, 20 U.S.C.A § 1681 et
seq., Which is a law of the United States. See Ex. A, Count ili.

9. Further, this Court has supplemental jurisdiction over Plaintiff’s
additional causes of action pursuant to 28 U.S.C. § 1367, Which states that “the
district courts shall have supplemental jurisdiction over all other claims that are so
related to claims in the action Within such original jurisdiction that they form part
of the same case or controversy.” 28 U.S.C. § 1367(a). According to Plaintiffs
complaint, Plaintiff’ s federal and state law claims arise from the same set of
events. See Ex. A.

10. Thus, this action may be removed to this Court pursuant to 28

 

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U.S.C. § 1441(a).
VENUE

11. Pursuant to 28 U.S.C. §§ 1441(a), venue lies in the United
States District Court for the Middle District of Pennsylvania because the state
action arose and was filed in this District. j

NOTICES

12. Defendant has not filed an answer or other pleading in the
Court of Common Pleas of Lackawanna County, Pennsylvania.

13. Def`endant submits this notice and petition without Waiving any
defenses to the claims asserted by Plaintiff or conceding that Plaintiff has pleaded
claims upon which relief may be granted

14. Pursuant to 28 U.S.C. § 1446(d), Defendant is giving written
notice of the removal of this action to all adverse parties, and is forwarding a copy
of this Notice for filing with the Clerk of }udiciai Records for the Court of
Common Pleas of Lackawanna County, Pennsylvania. A true and correct copy of
the Notice of Removal submitted for filing with the Court of Corninon Pleas of
Lackawanna County is attached hereto as Exhibit B.

WHEREFORE, Defendant respectfully requests that the Within

action, now pending in the Court of Common Pleas of Lackawanna County,

 

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Pennsyivania, be removed to the United States District Court for the Middle

District of Pennsylvania.

Dated: October 18, 2018

Respectfuily submitted,
JACKSON LEWIS P.C.

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ATTORNEYS FOR DEFENDANT

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IN THE UNITED STATES I)IS'I`RICT COURT
FOR THE MII)DLE DISTRICT OF PENNSYLVANIA

 

SANDRA HARVEY,
CIVIL ACTION NO.

Plaintiff`,
vs.

MARYWOOD UNIVERSITY

Defendant.

 

CERTIFICATE OF SERVICE
i hereby certify that a true and correct copy of Defendant’s Notice and
Petition for Removal, Civil Cover Sheet, and this Certificate of Service were
served upon Plaintiff" s counsel, Michaei R. Goffer, Esq., at his address located at
Law Offices of Goffer & Cimini, 1603 Monsey Avenue, Scanton, PA 18509, via
overnight mail, on this 18th day of October, 2018.
.]ACKSON LEWIS P.C.

By: s/Eileen K. Keefe
Eileen K. Keefe (PA #93194)

4839-7713-7273, v. 1

 

